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     Telephone:(916) 557-1113
 3
     Attorney for defendant
 4   MICHAEL CORSBIE

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 8
                          UNITED STATES DISTRICT COURT
 9
                         EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,           No.   11-CR-00036 WBS
12
                    Plaintiff,
13
          v.                             STIPULATION AND [PROPOSED] ORDER
14                                       TO CONTINUE ADMIT OR DENY
     MICHAEL CORSBIE,                    HEARING
15
                    Defendant.
16

17        The defendant, Michael Corsbie, through his undersigned

18   counsel and the United States, through its undersigned counsel,

19   hereby agree and request that the admit or deny hearing,

20   currently set for Monday, November 18, 2013 at 9:30 am, be

21   vacated and continued until Monday, January 6, 2014 at 9:30 am.

22   USPO White has been informed and has no objection.

23        A continuance is necessary to provide counsel with

24   additional time for further discussions with his client and case

25   preparation.

26        I, William E. Bonham, the filing party, have received

27   authorization from AUSA Sherry Haus to sign and submit this

28   stipulation and proposed order on her behalf.
                                         1
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 1       Accordingly, the defense and the United States stipulate

 2   that the admit or deny hearing for defendant, Michael Corsbie

 3   should be continued until Monday, January 6, 2014 at 9:30 am.

 4   Dated: November 15, 2013                BENJAMIN B. WAGNER
                                             United States Attorney
 5

 6                                           By:/s/ WILLIAM BONHAM for
                                             SHERRY HAUS
 7                                           Assistant U.S. Attorney

 8
     Dated: November 15, 2013                By:/s/ WILLIAM BONHAM for
 9                                           WILLIAM BONHAM
                                             Counsel for defendant
10                                           Michael Corsbie
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      Case 2:11-cr-00036-WBS Document 62 Filed 11/18/13 Page 3 of 3


 1                                     ORDER

 2        IT IS SO ORDERED.    The admit or deny hearing currently set

 3   for Monday, November 18, 2013 is vacated and continued to Monday,

 4   January 6, 2014 at 9:30 am.

 5   Dated:   November 18, 2013
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